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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION



ANA SYSAK,

             Plaintiff,

v.                                              Case No.: 2:20-cv-00643-JLB-MRM

NURSE ON CALL, INC.,[ 1]

             Defendant.
                                         /



                                        ORDER



      The parties have filed a “Joint Stipulation to Arbitrate and Motion to Stay

Action Pending Arbitration” (Doc. 10). After reviewing the arbitration agreement,

(Doc. 10-1), the Court is satisfied that Plaintiff’s claims are subject to arbitration.

      Accordingly, it is ORDERED:

      1.     The parties shall proceed to arbitration. This case is STAYED, and the

Clerk is DIRECTED to administratively close the file. The Court retains jurisdiction

to adjudicate any necessary post-arbitration motions.




1When this case was filed, the defendant was identified as “Nurse On Call, Inc.
d/b/a Brookdale Senior Living Inc.,” but the parties now inform the Court that the
correct name is “Nurse On Call, Inc.” (Doc. 10 at 1.) The Clerk is directed to update
the defendant’s name in the case caption accordingly.
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      2.     The parties shall file a joint report no later than January 27, 2021 and

every ninety days thereafter advising the Court of the progress of the arbitration.

      ORDERED in Fort Myers, Florida, on October 15, 2020.
